Case 1:11-cv-01735-CRC Document 133 Filed 02/15/19 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

HELMERICH & PAYNE
INTERNATIONAL DRILLING CO.,

Plaintiff,
vs.
Case No. l:l l-cv-Ol735-CRC
BOLIVARIAN REPUBLIC OF
VENEZUELA, PETROLEOS DE
VENEZUELA, S.A., and PDVSA
PETROLEo, S.A.,

Defendants.

 

 

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MOTION '1`0 STAY ALL PROC.EEDINGS
Upon consideration of Plaintiff’s Motion to Stay All Proceedings, it is hereby

ORDERED that
Plaintiffs’ Motion is GRANTED; and
All proceedings and obligations of all parties are STAYED; and

H&P-IDC is ordered to submit a status report every 90 days until otherwise ordered.

Date: Eé/'M/)'¢? /g_{ Z-ol_?

 

United States District Jud

